                               NO. 07-11-0116-CR
                               NO. 07-11-0117-CR

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL A

                                APRIL 13, 2011
                        ______________________________


                       JUAN FRANCISCO PACHECO, APPELLANT

                                      V.

                         THE STATE OF TEXAS, APPELLEE


                       _________________________________

                FROM THE 181ST DISTRICT COURT OF POTTER COUNTY;

         NOS. 61,408-B &amp; 62,495-B; HONORABLE JOHN B. BOARD, JUDGE

                        _______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
	Pending before this Court are Appellant's Motions to Withdraw Appeals in which he represents that he no longer wishes to pursue these appeals.  The motions are signed by Appellant's attorney.  Tex. R. App. P. 42.2(a).  Appellant did not, however, sign the motions as required by Rule 42.2(a) of the Texas Rules of Appellate Procedure.  Rather, Appellant's signature is affixed to documents entitled Appellant's Consent to Motion to Withdraw Appeals in which he confirms that he wishes to withdraw these appeals.  Therefore, we suspend the operation of that portion of Rule 42.2(a) insofar as it requires that Appellant's signature be affixed to the Motions to Withdraw Appeals and accept Appellant's signature on his Consent to Withdraw Appeals as satisfying the requirements of Rule 42.2(a).  See Tex. R. App. P. 2.  No decision of this Court having been delivered, the motions are granted and the appeals are dismissed.  No motions for rehearing will be entertained and our mandates will issue forthwith.


							Patrick A. Pirtle
							      Justice

Do not publish.



							



